Case 1:22-cr-00100-CM Document 15 Filed 06/27/22 Page 1of1

 

 

 

 

 

 

 

 

 

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UNITED STATES DISTRICT COURT °C TRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK Ht: | |
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UNITED STATES OF AMERICA ——_—_———_ |
-v- 22 CR 100 (CM)
JOSEPH ATKINSON,
Defendant.

 

ORDER ACCEPTING THE PLEA ALLOCUTION BEFORE
A U.S. MAGISTRATE JUDGE

McMahon, J.:

 

On June 14, 2022, United States Magistrate Judge Jennifer E. Willis, presided over the plea
allocution in the above captioned matter and reported and recommended that the named
defendant’s plea of guilty be accepted. The Court having reviewed the transcript of the allocution,
the charging papers, and all other pertinent parts of the record, finds that the plea accords with the
requirements of Rule 11 of the Federal Rules of Criminal Procedure. Accordingly, the Court
adjudges defendant guilty of the offense(s) to which the guilty plea was offered. The Clerk is

directed to enter the plea.

District Court Judge

June 27, 2022
New York, NY
